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REITLER BROWN & ROSENBLATT LLC h m {F_j""
800 Th.ird Avonuo, 2 1 st Floor § 55 53
view Ymi<, uaw Yori< 10022 §§ §§
(212) 209-3050 §§
Armm.gygfpr Dejémdcmi.‘s Morgans Ho!el Group Co.. § mg
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Morgans lfotel Gr'oup LLC, Morgans Group LLC‘,
and \Mor"gmzs Hoi‘el Group Mcmagemen£, LLC

UNITED STATHS DISTRICT COURT
DTSTRICT OF NEW JERSEY

TN'NUVATl\/E 'I`RAVE`.L MAR_K_ET[NG TNC.,
Piaintiff,

ou ~ \Q&E)UL@

V.
RULE 7.1 STATEMENT

MORGANS HOTEL GROUP CC)., MORGANS
IIOTEL GROUP LLC, MORGANS GROL.|P LLC,
MORGANS HC)TEL GROUP MANAGEMENT,

LLC and GPH PARTNERS, LLC,

Dof`ondants.

Pursuaut to Fodoral Rule of Civii Proceduro '/'.1 and to enable Distric:t lodges and

Magistrato Judges to evaluate possible disqualification or recusal, the undersigned counsel for

MORGANS HOTEL GRC)UP CO., MORGANS l-IOTEL GROUP LLC, MGRGANS GRGUP

LLC, MORGANS HGTEL GROUP MANAGEMENT, LLC fall of Which aro private non-

79775

 

 

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govenunental party) certifies that the lollowlng are corporate parents, affiliates and/or
Suhsldlaries of said partiea, which are publicly he]d:
MORGA.NS HOTEL GROUP CO.

Dated: New York, Now Yorh
April 24, 2006

REITLER BROWN & ROSENBLATT LLC

Craig@ .I wl eIt,

800 Third Avenue, l;121$1 Floor

New Yorl<., New Yorlc 10022

Tel. (212) 209-3050

Attomeys for Defendems Morgans Herel
Greu.p C?e., Morgens Hotel Group L.LC.
Morgans Greup LLC', and Morgens Hctel
Group Management, LLC

 

 

